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                     UNITED STATES COURT OF APPEALS
                          FOR THE SIXTH CIRCUIT

AMERICAN ELECTRIC POWER                       )
SERVICE CORPORATION,                          )
       Petitioner,                            )     Case No. 23-3196
                                              )
                                              )
v.                                            )
                                              )
FEDERAL ENERGY                                )
REGULATORY COMMISSION,                        )
       Respondent.


        UNOPPOSED MOTION FOR LEAVE TO INTERVENE OF
                   BUCKEYE POWER, INC.

      Pursuant to Rule 15(d) of the Federal Rules of Appellate Procedure,

Buckeye Power, Inc. (“Buckeye”) respectfully moves to intervene in support of

Respondent Federal Energy Regulatory Commission (“Commission”) in the

above-captioned proceeding. Buckeye is authorized to represent that neither

Petitioner nor Respondent opposes this Motion.

      Petitioner American Electric Power Service Corporation seeks review of two

Commission orders captioned:

         • Office of the Ohio Consumers’ Counsel v. American Electric Power
           Service Corporation, et al., Order on Complaint, Docket No. EL22-
           34-000, 181 FERC ¶ 61,214 (2022) (“Order on Complaint”); and

         • Office of the Ohio Consumers’ Counsel v. American Electric Power
           Service Corporation, et al., Notice of Denial of Rehearing by
           Operation of Law and Providing for Further Consideration, Docket
           No. EL22-34-001, 182 FERC ¶ 62,095 (2023) (“Notice of Denial of
           Rehearing”).
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      Buckeye is an Ohio non-profit generation and transmission cooperative and

Load-Serving Entity that produces, procures, and provides at wholesale all the

electric capacity and energy required by its twenty-five member electric

distribution cooperatives operating predominantly in the State of Ohio and a small

portion of the State of Indiana. Buckeye is owned and governed by its member

distribution cooperatives, which are in turn each (predominantly Ohio) non-profit

cooperatives owned by their retail member-consumers. Buckeye filed a timely

motion to intervene, was granted party status, and actively participated in the

underlying agency proceeding. Order on Complaint PP 20-21, 27-28.

      In addition, Buckeye pays and is directly affected by the Commission-

jurisdictional rates at issue in the orders on review. Although Buckeye owns

generation assets to serve its members, it largely relies on transmission service

from third parties including, to a significant extent, Ohio Power Company and

AEP Ohio Transmission Company Inc. (affiliates of Petitioner American Electric

Power Service Corporation). The Commission’s directive in the Order on

Complaint that Ohio Power Company and AEP Ohio Transmission Company Inc.

remove the fifty-basis point adder from the return on equity used to determine their

transmission rates has a significant impact on the overall transmission rates paid by

Buckeye.




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      The Court’s decision on the instant Petition for Review therefore has the

potential to affect Buckeye, and Buckeye thus has a clear and substantial interest in

this proceeding that cannot be represented by any other party, and its participation

would be in the public interest. This motion is timely filed under Rule 15(d) of the

Federal Rules of Appellate Procedure, because it is being submitted within thirty

days of March 8, 2023—the date on which Petitioner filed its petition for judicial

review in this Court.

      For the reasons set forth above, this Court should grant Buckeye’s

unopposed motion to intervene in support of Respondent Federal Energy

Regulatory Commission.

                                       Respectfully submitted,

                                       /s/ Cynthia S. Bogorad
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                                       Attorneys for Buckeye Power, Inc.

April 6, 2023


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                     CERTIFICATE OF COMPLIANCE

      1.    I certify that the foregoing Unopposed Motion for Leave to Intervene

complies with the type-volume limitations of Fed. R. App. P. 27(d)(2)(A),

excluding the items exempted by Fed. R. App. P. 32(f). The Motion contains 440

words.

      2.    I certify that the foregoing Motion complies with the typeface

requirements of Fed. R. App. P. 32(a)(5) and the type-style requirements of Fed. R.

App. P. 32(a)(6) because it was prepared in Microsoft Word using a proportionally

spaced typeface, Times New Roman 14-point font.




                                      /s/ Cynthia S. Bogorad
                                      Cynthia S. Bogorad
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                                    UNITED STATES COURT OF APPEALS
                                         FOR THE SIXTH CIRCUIT

                  Disclosure of Corporate Affiliations
                        and Financial Interest
 Sixth Circuit
 Case Number: 23-3196                              Case Name: Am. Elec. Power Serv. Corp. v. FERC
 Name of counsel: Cynthia S. Bogorad

 Pursuant to 6th Cir. R. 26.1, Buckeye Power, Inc.
                                                            Name of Party
 makes the following disclosure:
 1.     Is said party a subsidiary or affiliate of a publicly owned corporation? If Yes, list below the
        identity of the parent corporation or affiliate and the relationship between it and the named
        party:
  Proposed Intervenor Buckeye Power, Inc. states that it is a non-profit generation and
  transmission cooperative, owned and governed by its member distribution cooperatives, which
  are in turn each Ohio non-profit cooperatives owned by their retail member-consumers.
  Buckeye Power, Inc. has no parent corporation, and no publicly held corporation has a 10% or
  greater ownership interest in Buckeye Power, Inc.



 2.     Is there a publicly owned corporation, not a party to the appeal, that has a financial interest
        in the outcome? If yes, list the identity of such corporation and the nature of the financial
        interest:
  Given that this case affects wholesale electric transmission rates by Petitioner s public utility
  affiliates, all wholesale customers may be affected by the outcome. Buckeye does not have
  specific information about other wholesale customers that maybe affected.




                                             CERTIFICATE OF SERVICE

                                   April 6, 2023
 I certify that on _____________________________________         the foregoing document was served on all
 parties or their counsel of record through the CM/ECF system if they are registered users or, if they are not,
 by placing a true and correct copy in the United States mail, postage prepaid, to their address of record.

                                 s/ Cynthia S. Bogorad




           This statem ent is filed twice: when the appeal is initially opened and later, in the principal briefs,
               im m ediately preceding the table of contents. See 6th Cir. R. 26.1 on page 2 of this form .




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                                       6th Cir. R. 26.1
                           DISCLOSURE OF CORPORATE AFFILIATIONS
                                  AND FINANCIAL INTEREST

        (a) Parties Required to Make Disclosure. With the exception of the United States
 government or agencies thereof or a state government or agencies or political subdivisions thereof,
 all parties and amici curiae to a civil or bankruptcy case, agency review proceeding, or original
 proceedings, and all corporate defendants in a criminal case shall file a corporate affiliate/financial
 interest disclosure statement. A negative report is required except in the case of individual criminal
 defendants.
        (b) Financial Interest to Be Disclosed.
                (1) Whenever a corporation that is a party to an appeal, or which appears as amicus
 curiae, is a subsidiary or affiliate of any publicly owned corporation not named in the appeal, counsel
 for the corporation that is a party or amicus shall advise the clerk in the manner provided by
 subdivision (c) of this rule of the identity of the parent corporation or affiliate and the relationship
 between it and the corporation that is a party or amicus to the appeal. A corporation shall be
 considered an affiliate of a publicly owned corporation for purposes of this rule if it controls, is
 controlled by, or is under common control with a publicly owned corporation.
                  (2) Whenever, by reason of insurance, a franchise agreement, or indemnity agreement,
 a publicly owned corporation or its affiliate, not a party to the appeal, nor an amicus, has a substantial
 financial interest in the outcome of litigation, counsel for the party or amicus whose interest is aligned
 with that of the publicly owned corporation or its affiliate shall advise the clerk in the manner provided
 by subdivision (c) of this rule of the identity of the publicly owned corporation and the nature of its or
 its affiliate's substantial financial interest in the outcome of the litigation.
         (c) Form and Time of Disclosure. The disclosure statement shall be made on a form
 provided by the clerk and filed with the brief of a party or amicus or upon filing a motion, response,
 petition, or answer in this Court, whichever first occurs.




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                        CERTIFICATE OF SERVICE


      I hereby certify that I have this day caused the foregoing Unopposed Motion

for Leave to Intervene of Buckeye Power, Inc. to be served on all parties or their

counsel of record through the Court’s CM/ECF system.

      Dated on this 6th day of April, 2023.



                                      /s/ Cynthia S. Bogorad
                                          Cynthia S. Bogorad


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